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                          TABLE OF EXHIBITS
Exhibit 1        Release Order (March 18, 2014) (Case No. 2012 CMD 007806)

Exhibit 2        Release Order (March 18, 2014) (Case No. 2014 CMD 004452)

Exhibit 3        Release Order (April 10, 2014) (Case No. 2012 CMD 007806)

Exhibit 4        Release Order (April 10, 2014) (Case No. 2014 CMD 004452)

Exhibit 5        Gregory Smith Institutional File (To Be Filed Under Seal)

Exhibit 6        DOC Program Statement: Admission, Transfers, and Releases

Exhibit 7        Review of Paperflow Process Between the Superior Court, the U.S.
                 Marshal Service and the Department of Corrections
                 (To be Filed Under Seal)

Exhibit 8        First Version of Overdetention Reports (Defendants’ Answers to
                 Interrogatory No. 2)
Exhibit 9        Second Version of Overdetention Reports (As reported to D.C.
                 Council)
Exhibit 10       Third Version of Overdetention Reports (As reported by Defendant
                 Myrick) (To be Filed Under Seal)
Exhibit 11       Jack Jones Personnel File (To be Filed Under Seal)
Exhibit 12       District of Columbia’s Responses to Requests for Admissions
Exhibit 13       Court View for Case 2014 CMD 004452
Exhibit 14       Court View for Case 2012 CMD 007806
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Exhibit 16       Lindsay Expert Report
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Exhibit A        Deposition of Gregory Smith
Exhibit B        Deposition of Jeanette Myrick (November 23, 2015)
Exhibit C        Deposition of Jeannette Myrick (March 4, 2016)
Exhibit D        Deposition of Jack Jones
Exhibit E        Deposition of Robilyn Brown
Exhibit F        Deposition of Fred Thompson
Exhibit G        Deposition of David Neumann
Exhibit H        Deposition of Svetlana Polonchuk
